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              EXHIBIT
       Case 2:20-cv-00304-AJS Document 1-3 Filed 03/02/20 Page 2 of 12

CT Corporation                                                           Service of Process
                                                                         Transmittal
                                                                         02/18/2020
                                                                         CT Log Number 537205974
TO:      Angela Aizawa
         Verizon Communications Inc.
         1 Verizon Way
         Basking Ridge, NJ 07920-1097

RE;      Process Served in Delaware

FOR:     Verizon Pennsylvania LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  Nancy Ostrow and Douglas Ostrow, etc., Pltfs. vs. Verizon Pennsylvania LLC, Dft.
DOCUMENT(S) SERVED:               Letter, Complaint, Notice, Verification, Interrogatories
COURT/AGENCY:                     Allegheny County - Court of Common Pleas, PA
                                  Case # GD20002223
NATURE OF ACTION:                 Personal Injury - Slip/Trip and Fall
ON WHOM PROCESS WAS SERVED:       The Corporation Trust Company, Wilmington, DE
DATE AND HOUR OF SERVICE:         By Certified Mail on 02/18/2020 postmarked: "Not Post Marked"
JURISDICTION SERVED :             Delaware
APPEARANCE OR ANSWER DUE:         Within 20 days after this complaint and notice are served
ATTORNEY(S) /SENDER(S):           David I. Ainsman
                                  Ainsman Levine, LLC
                                  310 Grant Street, Suite 1500
                                  Pittsburgh, PA 15219
                                  412-338-9030
REMARKS:                          Please note that summons is not served at the time of service. Please note:
                                  Transmittal has been edited to correct lawsuit type.
ACTION ITEMS:                     CT has retained the current log. Retain Date: 02/18/2020, Expected Purge Date:
                                  02/23/2020
                                  Image SOP
                                  Email Notification, Alice Burke alice.burke@verizon.com
                                  Email Notification, JACKMINNEAR jack.minnear@verizon.com
                                  Email Notification, David Haga david.haga@verizon.com

SIGNED:                           The Corporation Trust Company
ADDRESS:                          1999 Bryan St Ste 900
                                  Dallas, t5( 75201-3140
For Questions:                    877-564-7529
                                  MajorAccountTeam2@wolterskluwer.com




                                                                         Page 1 of 1 / DM
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and Is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained In the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
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                         PillSbu/qh. PA 15219




                                                   Verizon Pennsylvania, LLC
                                                   1'209 Orange Sircei
                                                   Wilmington. DE 19801

                                                   VIA CERTIFIED MAIL - RETURN RECEIPI’
                                                   REQUESTED
                     Case 2:20-cv-00304-AJS Document 1-3 Filed 03/02/20 Page 4 of 12
 NOTICE OF SUIT TO SHERIFF OF ALLEGHENY CO.
 You are hereby notified that on 02/10/2020
 a COMPLAINT has been filed in this case
 and you are required to serve the same on or before the
  05/10/2020
. Michael McGeever, Director
  Department of Court Records
                                                   COMPLAINT IN CIVIL ACTION
                          IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
  Plaintiff(s)                                                     Case Number:
                                                                   GD-20-002223
        Ostrow, Douglas
                                                                   Type of pleading:
        Ostrow, Nancy                                              Complaint

                                                                   Filed on behalf of:
                                                                   Ostrow Nancy
                                         T


                                                                   Ainsman David
                                                                  (Name of filing party)
 Defendant(s)                                                    VS
                                                                    X     Counsel of Record
       Verizon Pennsylvania LLC,
                                                                          Individual, If Pro Se

                                                                   Name, Address and Telephone Number:
                                                                   Ainsman David
                                                                   Ainsman Levine LLC
                                                                   310 Grant Street, Suite 1500
                                                                   Pittsburgh, PA, 15219
                                                                   412 3389030
                                                                   412 3389030
                                                                   Attorney’s State ID: 25437




                                      Michael McGeever; Director, Department of Court Records
     Case 2:20-cv-00304-AJS Document 1-3 Filed 03/02/20 Page 5 of 12




                                                  Filed 2/10/2020
IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA


NANCY OSTROW, and DOUGLAS            CIVIL DIVISION
OSTROW, her husband,
                                     No: GD 20-002223
               Plaintiffs,
                                     Issue:
       V.
                                     Code:
VERIZON PENNSYLVANIA LLC,

               Defendant.
                                     COMPLAINT IN CIVIL ACTION


                                     Filed on behalf of Plaintiffs

                                     Counsel of Record for this Party:

                                     David 1. Ainsman, Esquire
                                     PA I.D. No. 25437

                                     Ainsman Levine, LLC
                                     Firm No. 975

                                     310 Grant Street, Suite 1500
                                     Pittsburgh, PA 15219

                                     (412) 338-9030-Phone
                                     (412) 338-9167-Fax

                                     da@ainsmanlevine.com




JURY TRIAL DEMANDED



{ALS26294.1)
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA



NANCY OSTROW, and DOUGLAS                       )    CIVIL DIVISION
OSTROW, her husband,                            )
                                                )    No:
               Plaintiffs,                      )
                                                )    Issue:
       V.                                       )
                                                )    Code:
VERIZON PENNSYLVANIA LLC,                       )
                                                )
               Defendant.                       )



                                    NOTICE TO DEFEND

         YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set
forth in the following pages, you must take action within TWENTY (20) days after this
complaint and notice are served, by entering a written appearance personally or by attorney and
filing in writing with the court your defenses or objections to the claims set forth against you.
You are warned that if you fail to do so the case may proceed without you and a judgment may
be entered against you by the court without further notice for any money claimed in the
complaint or for any other claim or relief requested by the plaintiff. You may lose money or
property or other rights important to you.

      YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.

     IF YOU CANNOT AFFORD A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.,

                             LAWYER REFERRAL SERVICE
                              Allegheny County Bar Assocation
                                 11 Floor Koppers Building
                                    436 Seventh Avenue
                                    Pittsburgh, PA 15219
                                       (412) 261-5555




JURY TRIAL DEMANDED


{AL626294.1}
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA



NANCY OSTROW, and DOUGLAS                        )    CIVIL DIVISION
OSTROW, her husband,                             )
                                                 )   No:
                Plaintiffs,                      )
                                                 )    Issue:
          V.                                     )
                                                 )    Code:
VERIZON PENNSYLVANIA LLC,                        )
                                                 )
                Defendant.                       )



                               COMPLAINT IN CIVIL ACTION

          AND NOW, come the Plaintiffs, Nancy Ostrow and Douglas Ostrow, her husband, by

and through their attorneys, Ainsman Levine, LLC, and David I. Ainsman, Esquire, and file the

following Complaint in Civil Action, and in support thereof aver the following:

          1.    Plaintiffs, Nancy Ostrow and Douglas Ostrow are adult individuals who are

 married and currently reside in Allegheny County at 22 Pintail Drive, Pittsburgh, Pennsylvania

 15238.

       2.       Defendant, Verizon Pennsylvania LLC, is a limited liability company

 incorporated in Delaware with a registered business address at 1209 Orange Street, Wilmington,

Delaware 19801.

       3.       The events hereinafter described occurred on or about May 10, 2018, at

approximately 3:30 p.m. on Plaintiffs driveway located 22 Pintail Drive, Pittsburgh,

 Pennsylvania 15238 (hereinafter “premises”)-

       4.       For some time period prior to the incident, a wire was strung across the driveway

 by Verizon.




{AL626294.1}
      Case 2:20-cv-00304-AJS Document 1-3 Filed 03/02/20 Page 8 of 12




      5.      At all times material hereto, it is believed and therefore averred that Defendant,

Verizon Pennsylvania LLC, possessed, managed, owned, maintained, and/or controlled the

downed wire and was responsible for the maintenance, inspection, and condition of said wire.

      6.      At that time and place. Plaintiff, Nancy Ostrow, was caused to trip and fall to the

ground as a result of the downed wire.

      7.      As .a result of tripping over the loose cable. Plaintiff was caused to fall to the

ground and strike her body and face thereon, thereby suffering and sustaining the personal

injuries described more fully herein.

      8.      It is believed and therefore averred that Defendant had actual and/or constructive

notice of the downed wire that created a dangerous, hazardous, and/or otherwise unsafe

condition prior to the time at which the Plaintiffs fall occurred.

      9.      As a direct and proximate result of the Defendant’s negligence. Plaintiff sustained

the following injuries, some or all of which may be permanent in nature:

              a.      Closed head injury;

              b.      Cerebral concussion;

              c.      Bilateral feet abrasion;

              d.      Facial fracture;

              e.      Nondisplaced fracture of maxillary spine tip;

              f       Lip laceration;

              g-      Lip trauma;

              h.      Vertigo;

              1.      Balance problems;

              J-      Photosensitivity; '


                                            {AL626294.1}2
      Case 2:20-cv-00304-AJS Document 1-3 Filed 03/02/20 Page 9 of 12




              k.     Phonosensitivity;

              1.     Facial pain;

              m.     Post-traumatic amnesia;

              n.     Dizziness;

              o.     Anxiety;

              P-     Memory loss;

              q-     Scarring;

              r.     Impingement syndrome of left shoulder;

              s.     Shoulder pain; and

              t.     Other possible serious and/or severe injuries, the extent of which is not yet
                     known.

       10.    As a result of the aforementioned injuries, Plaintiff, Nancy Ostrow, has sustained

the following damages;

              a.     She has endured and may continue to endure pain, suffering,
                     inconvenience, embarrassment, mental anguish, and emotional and
                     psychological trauma;

              b.     She has been and may continue to be required to expend money for
                     medical treatment and care, medical supplies, rehabilitation, medicines,
                     and other attendant services;

              c.     Her general health, strength, and vitality have been impaired;

              d.     She has been and may in the future be unable to enjoy various pleasures of
                     life that she previously enjoyed; and

              e.     She has been permanently scarred and disfigured.




                                          {AL626294,1}3
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                                           COUNT I
                           Nancy Ostrow v. Verizon Pennsylvania LLC
                                       NEGLIGENCE

        11.     Paragraphs one (1) through and including ten (10) are hereby incorporated by

reference as if fully set forth herein.

        12.     The losses, injuries, and damages sustained by Plaintiff, Nancy Ostrow, were

caused by the negligence of Defendant, Verizon Pennsylvania LLC, as described herein, supra.

and in some or all of the following particulars:

                a.      In permitting the wire to be, and remain an unsafe, dangerous, and/or
                        hazardous condition;

                b.      In creating the unsafe, dangerous, and/or hazardous condition described
                        herein;

                c.      In permitting the unsafe, dangerous, and/or otherwise hazardous condition
                        to exist when Defendant knew, or should have known, that the condition
                        posed a danger to individuals;

                d.      In failing to reasonably inspect the area where the unsafe, dangerous,
                        and/or hazardous condition existed;

                e.      In failing to remedy the unsafe, dangerous, and/or hazardous condition
                        when Defendant knew, or should have known, that it created a serious risk
                        of injury to individuals;

                f.      In failing to warn or otherwise notify Plaintiff of the unsafe, dangerous,
                        and/or hazardous condition;

                g.      In failing to remove, repair, or remediate the hazard created by the downed
                        wire in a reasonable amount of time.


        WHEREFORE, Plaintiff, Nancy Ostrow, demands judgment against Defendant, Verizon

Pennsylvania LLC, in an amount that exceeds the arbitration limits of this county plus costs and

interest.




                                           {AL626294.1}4
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                                           COUNT I
                          Douglas Ostrow v, Verizon Pennsylvania LLC
                                   LOSS OF CONSORTIUM

          13.   Paragraphs one (1) through and including twelve (12) are hereby incorporated by

reference as if fully set forth herein.

          14.   Plaintiff, Douglas Ostrow, is and, at all times relevant hereto, was married to

Plaintiff, Nancy Ostrow, and resides with him at the address identified in paragraph one (1)

herein.

          15.   As a direct and proximate result of the negligence of Defendant, Verizon

Pennsylvania LLC, Plaintiff, Douglas Ostrow, has suffered the following damages:

                a.      He has been and will be required to expend money for his wife’s medical
                        care, medical supplies, and medicine;

                b.      He has been and will in the future be deprived of the services, assistance,
                        and companionship of his wife; and

                c.      He has suffered a loss of consortium.


          WHEREFORE, Plaintiff, Douglas Ostrow, demands judgment against Defendant,

Verizon Pennsylvania LLC, in an amount that exceeds the arbitration limits of this county plus

costs and interest.
                                                    r
                                                      Respectfully suj/mltted
                                                      Ainsrnan Levipe, LLC


                                                      David I. Ainsrnan, Esquire
                                                      Counsel for Plaintiffs




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                                        VERIFICATION

        We verify that the statements made in the COMPLAINT IN CIVIL ACTION are true and

correct; that the attached COMPLAINT IN CIVIL ACTION is based upon information which we

have furnished to our counsel and information which has been gathered by our counsel in

preparation of the lawsuit. The language of the COMPLAINT IN CIVIL ACTION is that of

counsel and not the Plaintiffs. We have read the COMPLAINT IN CIVIL ACTION and, to the

extent that the COMPLAINT IN CIVIL ACTION is based upon information which we have

given to our counsel, it is true and correct to the best of our knowledge, information, and belief.

To the extent that the content of the COMPLAINT IN CIVIL ACTION is that of counsel, we

have relied upon counsel in making this Verification. We understand that false statements herein

made are subject to the penalties of 18 Pa. C.S. § 4904 relating to the unsworn falsification to

authorities.


  02/07/2020

DATED                                        NANCY OSTROW


02/07/2020

DATED                                        DOUGLAS OSTROW




                                           {AL626294.1}
